            Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 1 of 16



                 AFFIDAVIT       IN SUPPORT OF CRIMINAL              COMPLAINT
                                   AND ARREST WARRANT

        I, Scott A. Thrift, being first duly sworn, hereby depose and state as follows:

                                    PURPOSE OF AFFIDAVIT

        1.       This Affidavit is submitted in support of a criminal complaint, charging Stephen

Maury BAKER (hereinafter "BAKER") with violations of 18 U.S.C. § 1752(a) and 40 U.S.C. §

5104(e)(2)(D) and (G). Specifically, on January 6, 2021, BAKER was present in Washington,

D.C., and knowingly, willfully and unlawfully entered and remained inside the U.S. Capitol and

impeded, disrupted, and disturbed the orderly conduct of business of the United States House of

Representatives and the United States Senate.

                                 BACKGROUND OF AFFIANT

       2.       I have been a Special Agent with the Federal Bureau oflnvestigation       ("FBI") since

2016. I am currently assigned to FBI's Washington Field Office.

       3.       Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports.   Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as "on or about" dates.

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       4.       The U.S. Capitol, which is located at First Street, S.E., in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.
               Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 2 of 16




           5.       On January 6,2021, the exterior plaza of the U.S. Capitol was closed to members of

 the public.

           6.       On January 6, 2021, a joint session of the United States Congress convened at the

 United States Capitol. During the joint session, elected members of the United States House of

 Representatives and the United States Senate were meeting in separate chambers of the United

 States Capitol to certifY the vote count of the Electoral College of the 2020 Presidential Election,

which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.

Vice President Mike Pence was presiding in the Senate chamber.

          7.       With the joint session underway and with Vice President Mike Pence presiding, a

large crowd gathered outside the U.S. Capitol. As noted above, temporary and permanent barricades

were in place around the exterior of the U.S. Capitol Building, and U.S. Capitol police were present

and attempting to keep the crowd away from the Capitol buildings and the proceedings underway

inside.

          8.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades and officers of the U.S. Capitol Police, and the crowd advanced

to the exterior fa~ade of the building. At such time, the joint session was still underway and the

exterior doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the

U.S. Capitol Police attempted to maintain order and keep the crowd from entering the Capitol.

Shortly after 2:00 p.m.; however, individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows.

          9.       Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives     and the United States Senate, including the President of the Senate, Vice

President Mike Pence, were instructed to-and      did-evacuate   the chambers. Accordingly, the joint



                                                   2
         Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 3 of 16




 session of the United States Congress was effectively suspended until shortly after 8:00 p.rn. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the session resumed.

        10.       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

scores of individuals inside the U.S. Capitol building without authority to be there, in violation of

Federal laws.

                   Tips received from the public regarding        "Stephen Ignoramus"

        11.       Following the above-described events, FBI received multiple tips from the public in

which complainants advised that on the day of the incident, they had observed an individual using

the name       "Stephen     Ignoramus"   live-streaming   video    from inside the Capitol   building.

Complainants observed the video footage by "Stephen Ignoramus" on multiple online streaming

platforms, including YouTube, Periscope, and dlive.tv.

              Live-stream   video footage by "Stephen Ignoramus"        picked up by media outlets

        12.       Video footage from the aforementioned live-stream was embedded by media outlet

MSN into an online article titled, "Trump supporters storm the U.S. Capitol in a bid to overturn

election defeat." The article attributed credit for the video footage to, "Stephen Ignoramus":




                                                    3
                Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 4 of 16



  i msn.com/en~us/nl!ws/pOlltlcs/trump·supportl!rS-storm-us-capitol_In-a-bid-to-Overtlln-elec           on-defeat/vi-BB lcxzHS


                             i'msn            news                               I 51! r
                                                      y


                             powerl~d by MIcrosoft News
                                                                                            tho Mb
                                                                                                                                                                                                    •
                                      Headlines     Coronav,rus      ElectIOn 2020     US       World   Good News         Politics        fact Check           Opinion         Crime        Local




                                                                                                              Up Nut:   See Wh.It Trump s...pporters   H.KIlo Say A!trr (Nos   AI CaPitol Hili )

                                Reuters

                            Trump supporters storm U.S. Capitol in a bid to overturn election defeat
                            Duration: 01:23    1 day ago




                            Police declared the Capitol building secure hours later. lawmakers reconvened Biden win certification                                          debate. Video
                            cred': Stephen Ignoramus          I

             13.            The above-referenced live-stream was also incorporated into a video embedded in a

Vice. com article, titled "Trump Loyalists Are Livestreaming While They Storm the Capitol." The

embedded video depicted multiple video streams from the Capitol, including one originating from

"Stephen Ignoramus - Washington DC":




                                                                                                 4
         Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 5 of 16




        14.    Excerpts of the above-referenced    live-stream from January 6, 2021, were also

broadcast by CNN during a broadcast on or about January 13, 2021:




       15.     Over two hours of the above-referenced live-stream by "Stephen Ignoramus" was

included in a broadcast by YouTube channel "JeffMAC," titled, "LIVE: Save America March Part

2 I Freedom Rally I Washington DC I Protest for Freedom   I USA."
       16.     On multiple occasions during the above-referenced live-stream, the person filming

and narrating the stream identifies himself to off-camera individuals as "Stephen Ignoramus,"

stating he is streaming to YouTube and Instagram. Additionally, in response to a question by an

off-camera individual asking what his "channel" is, the narrator/cameraman    of the live stream

states, "Stephen Ignoramus."


                                               5
       Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 6 of 16




       17.    On at least two occaSIons    ill   the aforementioned   video, "Stephen Ignoramus"

appears on camera and addresses viewers:




                                                 6
         Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 7 of 16



          Comments by "Stephen Ignoramus" noted in the above-referenced video

       18.       Law enforcement has reviewed the live stream from "Stephen Ignoramus"             on

January 6,2021, which includes the following content:

             a. At approximately       00:55 (hours: minutes),   the above-referenced   video begins

                 broadcasting a live video-stream attributed to "@stephenignoramus,"     (hereinafter

                 IGNORAMUS) who is, at that time, in the midst of a crowd of demonstrators

                 gathered outside an unspecified entrance to the Capitol building.

             b. At approximately 00:59, IGNORAMUS states, "Red Elephant is right at the door."

                 [this may be a possible reference to 'The Red Elephants' which, per open source, is

                 a far-right organization].

             c. At approximately 01:14, while addressing viewers of the live-stream who were

                 participating in the online chat, IGNORAMUS states, "I love you, live chat. I'm

                 fme. Thanks for coming, everyone. I will never forget this."

             d. At approximately 0 I: 18, IGNORAMUS enters the Capitol building along with other

                 individuals.

             e. At approximately 01 :20, IGNORAMUS appears to enter the Capitol rotunda, at

                 which point the live-stream feed is disrupted. When the feed is subsequently

                 restored, IGNORAMUS is heard stating, "I can't go in the chamber, my stream

                 drops."

             £   At approximately 01:29, IGNORAMUS appears on camera, addressing viewers,

                 stating, "Alright what's up y'all? How you guys doin'? Super-intense. Welcome,

                 I'm Stephen. I'm a live-streamer and a musician. We're having fun, huh? Repent

                 and believe in Jesus."



                                                   7
Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 8 of 16




  g. At approximately 01:37, IGNORAMUS states, "Old men with canes were at the

      front leading the charge. And Vincent James was like one of the fIrst people in, I'm

      almost positive." [this may be a reference to 'Vincent James,' a.k.a. VINCENT

      JAMES FOXX, leader of the above-referenced Red Elephants group].

 h. At approximately 01:39, apparently referring to a number of individuals dressed in

      tactical gear, IGNORAMUS remarks, "look at this - Oathkeepers"              [an apparent

      reference to the Oathkeepers, a far-right militia organization].

 1.   IGNORAMUS subsequently states, "There's nowhere to go but out. The cops are

      forcing us out."

 Jo   At approximately 01:40, IGNORAMUS states, "Gotta stay away from the cops,

      man. Cops are trying to get us out of here."

 k. At approximately 02:11, IGNORAMUS states, "I'm one of the last people up in

      here."

 1. At approximately         02: 12, now streaming     from outside the Capitol building,

      IGNORAMUS again appears on camera and addresses viewers stating, "Thank you

      for coming everyone [addressing associated           chat]. That was so epic. Historic

      day ...Stephen is my name. Looks like we got a lot of new people here."

 m. At approximately 03:23, in response to a question from an unidentifIed, off-camera

      individual   asking,    "what's   your   channel,"   IGNORAMUS        states,    "Stephen

      Ignoramus. "

 n. At approximately         03:24, IGNORAMUS        addresses an unidentified,       off-camera

      individual stating, "I was inside for about an hour ..."




                                          8
         Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 9 of 16




               o. At approximately      03:28, IGNORAMUS       addresses an unidentified,     off-camera

                  individual stating, "I was on ABC and Reuters and shit. I was inside for like an hour,

                  dude. I was one oflike the last 10 people in there ... I'm on Instagram and YouTube.

                  I'm Stephen Ignoramus. I don't matter though, this shit is history."

                      "Stephen Ignoramus" - Online presence on multiple platforms

         19.      Further review of publicly available internet content by the FBI revealed over twenty

 social media, video streaming, and crowd-funding platform user profiles associated with "Stephen

 Ignoramus." FBI further observed that several images of "Stephen Ignoramus" that were posted on

 some of these platforms appeared similar in likeness to the images of "Stephen Ignoramus"

 discussed     and included    above. Among       these, FBI reviewed   YouTube     channel    "Stephen

 Ignoramus,"     noting the associated profile photo appeared to depict the same individual as

referenced above:



                              Stephen Ignoramus
                              5.19K subscribers




       20.       At the time your affiant reviewed the above-referenced YouTube channel on January

8, 2021, the channel reflected no publicly viewable video content. However, a cached version of

the channel reflected a number ofvideos that had been previously uploaded to the channel, but were

then subsequently removed. Among these videos was one 8 minute and 6 second in length video

titled, "DC Stream #1 - Pre Ellipse," reflected as having been streamed "1 day ago." [As the content

was no longer visible on January 8, 2021, your affiant assesses the aforementioned cached version

of the channel was likely captured on or about January 7,2021. As such, "1 day ago" would have

likely corresponded to January 6,2021] :

                                                    9
        Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 10 of 16




                                            Search




                            Stephen Ignoramus
                            5 19K subscribers



                     HOME        VIDEOS              PLAVLlSTS        COMMUNITY            CHANNELS       ABOUT




                                                                           Ignoramus                  The Greal Conjunction
                                                                           850v.ews·                  304 Views'
                                                                           S •• med 6 days ago        Streamed 2 weeks ago




       21.    FBI subsequently located a profile with the name "Stephen Ignoramus" on the video-

streaming platform Bittube.tv, which reflected video content linked from the "Stephen Ignoramus"

YouTube channel, including a video titled, "DC Stream #1 - Pre Ellipse," uploaded "2 days ago."

FBI also located what appeared to be the same video, titled "DC Stream #1 - Pre Ellipse," on a

profile under the name "Stephen Ignoramus" at the video-streaming                                platform Odysee.com. The

video, which was also 8 minutes and 6 seconds in length, was accessible on this platform along

with info indicating that it had been uploaded to the site on January 6, 2021. In the video, the

narrator - whose voice appears to match that of the "Stephen Ignoramus" heard in the above-




                                                                 10
         Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 11 of 16




referenced video footage - narrates the live stream as he walks through downtown Washington

D.C., before ultimately joining up with other demonstrators:




               Identification of "Stephen Ignoramus" as Stephen Maury Baker

       22.    As referenced above, at least four complainants contacted the FBI to report that they

had observed "Stephen Ignoramus" live-streaming from inside the Capitol perimeter on January 6,

2021. Law enforcement conducted a follow-up interview with one of the tipsters (Complainant 1).

During the interview, Complainant 1 advised that he/she had recognized "Stephen Ignoramus" as

STEPHEN BAKER (hereinafter BAKER), and provided a telephone number that Complainant 1

previously knew to have belonged to BAKER. Complainant           1 additionally provided contact

information for another acquaintance of BAKER (hereinafter Witness 1), along with the following

screens hot of an online professional profile associated with BAKER:




                                               11
           Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 12 of 16




                                                              THf SJOU   fOil UNJALS   AND LESSONS!                                                x


  DC'S ONLY         FULL-SERVICE        MUSIC     STORE                                                waf              _
    '..         .
                               HOME        ABOUT US                EVENTS     LESSONS       MEDIA     CAMPS      RETAIL     RENTALS     REPAIRS

  Stephen                  Baker
  Guitar, Bass, Piano, £ Drums

  Available Tuesday, Thursday, Friday, Saturday,               & Sunday




                                                                                  Middle C Music guitar, piano, bass, and drum instrudor
                                                                                  Stephen Baker demonstrates his prowess with both the keytar
                                                                                  and the looping pedal board for a version of KC & the Sunshine
                                                                                  Band's disco hit, "Get Down Tonight." Crazy mad skillz:!The
                                                                                  recording was part of Make Music Day, June 21, 2019.




                         , (for" erly    ure Pr   0   I per   0   mins   "




          23.         Witness 1 was subsequently interviewed by FBI, during which time Witness 1

advised that he/she had observed BAKER live-streaming video from within the Capitol on January



                                                                             12
        Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 13 of 16




 6, 2021, under the name Stephen Ignoramus. Witness 1 additionally provided contact information

 for another person (Witness 2), who also knew BAKER.

        24.     Witness 2 was subsequently interviewed by FBI, during which time Witness 2 stated

 he/she had known BAKER for approximately 10 years. Witness 2 had previously observed BAKER

 live-streaming video to multiple platforms under the name, "Stephen Ignoramus." These platforms

 included YouTube, Twitter, Instagram, Bitchute, Bright yon, Dlive.tv, Twitch, and Periscope.

Witness 2 had previously observed videos by BAKER and had been alarmed by the content which

Witness 2 described as including advancement of conspiracy theories and mockery of minority

groups. Witness 2 further advised that one of BAKER's YouTube channels had been banned by

YouTube in or about December 2020.

        25.    On January 6, 2021, Witness 2 had observed BAKER live-streaming to YouTube

from within the Capitol building, then subsequently observed what appeared to be the same video

stream being re-broadcast by CNN. Witness 2 advised that BAKER had removed the video content

from YouTube after it had been picked up by national media.

                       Query of public records associated with BAKER

       26.     Searches by FBI of public databases for the name STEPHEN BAKER and an

associated phone number, which is the same number provided for BAKER by Complainant 1, as

discussed above, produced returns for STEPHEN MAURY BAKER, with a 1988 date of birth. The

aforementioned DOB was consistent with another social media profile under the name "Stephen

Ignoramus," which reflected the profile user's age as "32":




                                                13
         Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 14 of 16




                                                      + MUSIC        LIST               e   SHARE




        PHOTOS                                        ABOUT

                                                       Yeehaw


                                                       Screen name:       Stephen Ignoramus

                                                       Member since:        Nov 07 2012

                                                          Active over' month ago

       CONNECTIONS                                     Level of commitment:          Committed

                                                       Years together:      6


       Music list                                     Gigs played:       50 to 100

                                                      Tend to practice:         2-3 times per week




       Local Members




                                                      INflUENCES

                                                      Soul. Spirit. Jim; HendriX. Hangln'




                                                     MEMBERS OF BANO

                                                      Stephen Ignoramus




       27.             Your affiant reviewed government records for a STEPHEN MAURY BAKER with

the same birth date associated with the phone number noted above.                                    Those records include a

photograph of a STEPHEN MAURY BAKER that is consistent with the images ofIGNORAMUS

from the livestream, as well as the images of BAKER from his professional website.

                                        CONCLUSIONS OF AFFIANT

       28.          Based on the foregoing, your affiant submits that there is probable cause to believe

that BAKER, a.k.a. "Stephen Ignoramus," violated:

              a.       18 U.S.c. § 1752(a), which makes it a crime to (1) knowingly enter or remain in any

                    restricted building or grounds without lawful authority to do so; (2) knowingly, and

                    with intent to impede or disrupt the orderly conduct of Government business or

                    official functions, engage in disorderly or disruptive conduct in, or within such

                                                        14
Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 15 of 16



     proximity to, any restricted building or grounds when, or so that, such conduct, in

     fact, impedes or disrupts the orderly conduct of Government business or official

     functions; (3) knowingly, and with the intent to impede or disrupt the orderly

     cond~ct of Government business or official functions, obstruct or impede ingress or

     egress to or from any restricted building or grounds; or (4) knowingly engage in any

     act of physical violence against any person or property in any restricted building or

     grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18,

     a restricted building includes a posted, cordoned off, or otherwise restricted area of

     a building or grounds where the President or other person protected by the Secret

     Service is or will be temporarily visiting; or any building or grounds so restricted in

     conjunction with an event designated as a special event of national significance; and

  a. 40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or group of

     individuals to willfully and knowingly (D) utter       loud, threatening, or abusive

     language, or engage in disorderly or disruptive conduct, at any place in the Grounds

     or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the

     orderly conduct of a session of Congress or either House of Congress, or the orderly

     conduct in that building of a hearing before, or any deliberations of, a committee of

     Congress or either House of Congress; or (G) parade, demonstrate, or picket in any

     of the Capitol Buildings.




                                      15
        Case 1:21-cr-00273-TFH Document 1-1 Filed 01/27/21 Page 16 of 16




       29.    As such, I respectfully request that the court issue an arrest warrant for BAKER.

The statements above are true and accurate to the best of my knowledge and belief




                                             SPE
                                             FED                                       ON
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this _27th__ day of January, 2021.
                                                                    2021.01.27
                                                                    15:55:08 -05'00'
                                             U.S. MAGISTRATE JUDGE




                                                16
